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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION


SAHARA BURTON, Individually and on                                                        PLAINTIFF
Behalf of all Others Similarly Situated


vs.                                    No. 4:19-cv-307-BRW


NILKANTH PIZZA, INC.,
and JENNY PATEL                                                                      DEFENDANTS


            PLAINTIFF’S NOTICE OF ACCEPTANCE OF OFFER OF JUDGMENT


        COMES NOW Plaintiff Sahara Burton (“Plaintiff”), by and through her attorneys

Steve Rauls and Josh Sanford of Sanford Law Firm, PLLC, and for her Notice of

Acceptance of Offer of Judgment, states and alleges as follows:

        1.      On July 22, Defendants’ counsel emailed Plaintiff’s counsel with an offer

of judgment in the sum of $5,000.00, plus an award of reasonable attorney’s fees and

costs. Defendants’ Offer of Judgment is attached as Exhibit 1.

        2.      The deadline to accept the Offer of Judgment is August 5.

        3.      Plaintiff accepts Defendant’s Offer of Judgment for the total sum of

$5,000.00, plus a reasonable fee and costs. The parties are in the process of separately

negotiating reasonable attorney’s fees and costs.1

        4.      If the parties cannot agree on a reasonable fee, Plaintiff will submit a

petition for an award of attorney’s fees.


        1       Under the FLSA, an award of reasonable attorneys’ fees and costs to the prevailing party
is mandatory. Fegley v. Higgins, 19 F.3d 1126, 1134 (6th Cir. 1994); 29 U.S.C. § 216(b).

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                                           Respectfully submitted,

                                           PLAINTIFF SAHARA BURTON

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